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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                        )
 Plaintiff,                                      )
                                                 )
v.                                               )             Case No. CIV-19-336-G
                                                 )
LAFORGE & BUDD CONSTRUCTION                      )
COMPANY, INC.                                    )
 Defendant.                                      )

DEFENDANT’S NOTICE TO WITHDRAW MOTION FOR PRESERVATION OF
 EVIDENCE AND MEMORANDUM IN SUPPORT [DOC. NO. 11] WITHOUT
                         PREJUDICE

       NOW COMES Defendant LaForge & Budd Construction Company, Inc.,

(“L&B”) by and through their undersigned counsel of record, in the entitled and

numbered cause, and hereby withdraws, without prejudice to refiling, its Motion for

Preservation of Evidence and Memorandum in Support [Doc. No. 11], filed October 11,

2019 (the “Motion”).

       WHEREFORE, L&B requests that the Court approve an order approving the

withdrawal of the Motion without prejudice to refiling it if necessary [Doc. No. 11].



                                          Respectfully submitted,

                                           /s/ Spencer F. Smith
                                          M. Richard Mullins, OBA No. 13329
                                          Spencer F. Smith, OBA No. 20430
                                          MCAFEE & TAFT A PROFESSIONAL
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                                          ATTORNEY FOR DEFENDANT, LaFORGE
                                          & BUDD CONSTRUCTION COMPANY INC.


                             CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2019, I filed the attached document with the
Clerk of Court. Based on the records currently on file in this case, the Clerk of Court will
transmit a Notice of Electronic Filing to those registered participants of the Electronic
Case Filing system.

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       UNITED STATE OF AMERICA


                                           /s/ Spencer F. Smith
                                          Spencer F. Smith




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